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                       6

                       7

                       8                              UNITED STATES DISTRICT COURT
                       9                             CENTRAL DISTRICT OF CALIFORNIA
                      10

                      11    PATRICIA MAYBERRY, an                   CASE NO.
                            individual,
                      12                                            COMPLAINT FOR:
                                        Plaintiff,
DAAR & NEWMAN, PLC




                      13                                            1. EMPLOYMENT DISCRIMINATION
                                  vs.                                  ON THE BASIS OF AGE IN
                      14                                               VIOLATION OF U.S. AGE
                            PROVIDENCE HOLY CROSS                      DISCRIMINATION IN
                      15    MEDICAL CENTER, a California               EMPLOYMENT ACT;
                            corporation; PROVIDENCE HEALTH          2. EMPLOYMENT DISCRIMINATION
                      16    & SERVICES, a Washington                   ON THE BASIS OF GENDER/SEX IN
                            corporation; PROVIDENCE HEALTH             VIOLATION OF US TITLE VII;
                      17    SYSTEM - SOUTHERN                       3. EMPLOYMENT RETALIATION IN
                            CALIFORNIA, a California                   VIOLATION OF US TITLE VII;
                      18    corporation; and DOES 1 through 50,     4. BREACH OF IMPLIED
                            inclusive,                                 EMPLOYMENT CONTRACT;
                      19                                            5. BREACH OF IMPLIED COVENANT
                                        Defendants.                    OF GOOD FAITH AND FAIR
                      20                                               DEALING;
                                                                    6. INTENTIONAL INFLICTION OF
                      21                                               EMOTIONAL DISTRESS;
                                                                    7. NEGLIGENT INFLICTION OF
                      22                                               EMOTIONAL DISTRESS; AND
                                                                    8. BREACH OF FIDUCIARY DUTY FOR
                      23                                               DEFINED CONTRIBUTION BENEFIT
                                                                       PLAN AND CONTRACT.
                      24
                                                                    DEMAND FOR JURY TRIAL
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                                                               COMPLAINT
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  1          COMES NOW Plaintiff Patricia Mayberry (“Mayberry”) and alleges as follows:
  2

  3                                        THE PARTIES
  4

  5          1.     Plaintiff Mayberry is, and at all material times was, an individual resident of
  6   California.
  7          2.     Defendant Providence Holy Cross Medical Center (“Providence Holy
  8   Cross”) is, and at all material times was, a corporate entity organized under the laws of
  9   and authorized to do business in California with its primary headquarters located at 15031
 10   Rinaldi Street, Mission Hills, CA 91345.
 11          3.     Defendant Providence Health & Services (“Providence Health”) is, and at
 12   all material times was, a corporate entity organized under the laws of Washington and
 13   registered to do business in California with its primary headquarters located at 1801 Lind
 14   Avenue SW, Renton, Washington 98057-3368.
 15          4.     Defendant Providence Health System - Southern California (“Providence
 16   SoCal”) is, and at all material times was, a corporate entity organized under the laws of
 17   and authorized to do business in California with its primary headquarters located at 4180
 18   West 190th Street, Torrance, California 90504-5513.
 19          5.     The true names and capacities, whether individual, corporate, associate or
 20   otherwise, of the defendants DOES 1 through 50, inclusive, and each of them, are
 21   unknown to Mayberry, who therefore sues said defendants by said fictitious names.
 22   When the identities and capacities of DOES 1 through 50, inclusive, become known to
 23   Mayberry, she will amend her Complaint. The term “Defendants,” as used herein, shall
 24   include each of said fictitiously-named defendants and Providence Holy Cross,
 25   Providence Health and Providence SoCal.
 26          6.     Mayberry is informed and believes, and thereon alleges, that certain other
 27   defendants were the agents, employees and representatives of certain of the remaining
 28   defendants, and were at all times acting within the purpose and scope of said agency and
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                                              COMPLAINT
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  1   employment, and each said defendant has ratified and approved the acts of its agents,
  2   employees and representatives, and that each actively participated in, aided and abetted, or
  3   assisted one another in the commission of the wrongdoing alleged in this Complaint.
  4          7.     Each of the Defendants employs more than twenty (20) employees, and at
  5   all relevant times did so.
  6

  7                                JURISDICTION AND VENUE
  8

  9          8.     This Court has venue and jurisdiction over this dispute because it arises in
 10   or about Los Angeles, California under federal law, namely U.S. Title VII of the Civil
 11   Rights Act of 1964, the U.S. Age Discrimination in Employment Act and the U.S. Older
 12   Workers Benefit Protection Act (29 U.S. Code § 621, et seq.). This Court has subject
 13   matter jurisdiction over these federal question claims pursuant to 28 U.S.C. §§ 1331 and
 14   1338(a) and (b). This Complaint also alleges violations of California law. This Court has
 15   jurisdiction over these state law claims pursuant to its supplemental jurisdiction, 28 U.S.C.
 16   § 1367(a)
 17

 18                         FACTUAL ALLEGATIONS COMMON TO
 19                                 ALL CLAIMS FOR RELIEF
 20

 21          9.     Defendants hold themselves out publicly as a moral and fair institution and
 22   claim to stand for a mission statement, which is posted on the public internet.
 23          10.    Their mission statement provides in relevant part as follows: “INTEGRITY
 24   . . . We hold ourselves accountable to do the right things for the right reasons. We
 25   speak the truth with courage and respect. We pursue authenticity with humility and
 26   simplicity.” (Emphasis added.)
 27          11.    As this lawsuit demonstrates, Defendants’ mission statement is a farce. In
 28   reality, Defendants do not act with integrity, and they do not do “the right things for the
                                                     -2-
                                              COMPLAINT
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  1   right reasons.” To the contrary, Defendants engage in discrimination and retaliation, even
  2   against their senior most tenured and aged employees. Their conduct is the antithesis to
  3   the values contained in the mission statement that they self-proclaim.
  4          12.    Providence Health is a more than $12 billion annual gross revenue health
  5   care and hospital business. Providence SoCal has gross annual revenues in excess of $1.5
  6   billion.
  7          13.    Providence SoCal is comprised of 13 acute care hospitals in Los Angeles,
  8   Orange and San Bernardino counties, and the High Desert, with a total inpatient market
  9   share of twenty-five percent (25%) in their service areas in 2018, as reported by the Office
 10   of Statewide Health Planning and Development. In Los Angeles County, the System
 11   includes six acute care facilities. Providence SoCal’s largest hospital, Providence St.
 12   Joseph Medical Center, is in Burbank. The System also includes hospitals in Mission
 13   Hills, San Pedro, Tarzana, Torrance and Santa Monica. Providence Medical Foundation
 14   (“PMF”) operates over fifty (50) practice locations in the market, offering more than 20
 15   types of specialty care. PMF includes the Facey, PMI and Providence St. John’s medical
 16   foundations, and in addition, the System includes seven acute care facilities within Orange
 17   and San Bernardino counties: Apple Valley, Fullerton, Mission Viejo, Laguna Beach,
 18   Newport Beach, Irvine and Orange, California. Mission Hospital is located on two
 19   campuses in Mission Viejo and Laguna Beach, and maintains the region’s level II trauma
 20   center, as well as a women’s center. Hoag Hospital, which also is composed of two
 21   campuses, in Newport Beach and Irvine, also includes Hoag Orthopedic Institute. St.
 22   Joseph Heritage Healthcare, a medical foundation, operates clinics in the region with its
 23   contracted physician partners.
 24          14.    Defendants Providence Health and Providence SoCal first hired Mayberry
 25   on or about July 1978 as a Registered Nurse at their Providence Saint Joseph Medical
 26   Center, which was at the time their only Southern California location.
 27          15.    In or about April 2008, Defendants transferred Mayberry to their Holy Cross
 28   Hospital, which was acquired in or about 1996. By this time, Defendants Providence
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                                            COMPLAINT
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  1   Health and Providence SoCal had also acquired Little Company of Mary & San Pedro,
  2   Tarzana and St. John’s. Later, in 2016 or 2017, they acquired St. Joseph Health.
  3          16.    In or about December 2017, Defendants promoted Mayberry to be Chief
  4   Operating Officer/Interim Chief Nursing Officer (COO/CNO) of their Providence Holy
  5   Cross facility. In or about August 2018, Defendants made Mayberry exclusively its
  6   secular COO of Holy Cross.
  7          17.    At all relevant times, Mayberry performed her job in a fully satisfactory
  8   capacity, and she never received any performance reviews critical of her job performance.
  9          18.    In early 2020, Defendants decided to conduct a group layoff throughout the
 10   Southern California region. Providence SoCal’s Executive Vice President and Chief
 11   Executive Erik Wexler and its Chief Human Resource Officer Pamela Stahl were part of
 12   the decision-making group who chose which employees throughout the region would be
 13   selected for layoff. Mr. Wexler and Ms. Stahl issued written communications confirming
 14   that the group layoff was being conducted on a regional basis throughout the Southern
 15   California region.
 16          19.    After more than forty-two (42) years of employment, Mayberry had an implied
 17   contract for continued employment with Defendants. Terms of this contract were confirmed by
 18   Bernard Klein, MD, Chief Executive, Providence Holy Cross MedicalCenter. Repeatedly
 19   throughout her employment, Klein told her that she was excellent and that he could not function
 20   without her. A number of times, he told her to not leave the company and to stay indefinitely.
 21          20.    As part of its 2020 group layoff, Defendants chose Mayberry as one of their
 22   Chief Operating Officers in the Southern California region to be laid off. Defendants
 23   chose not to select other Chief Operating Officers in the Southern California region to be
 24   laid off, where such other COO’s were younger than Mayberry and/or of a different
 25   gender/sex.
 26          21.    Additionally, Defendants offered some Chief Operating Officers in the
 27   Southern California region, who were initially selected for layoff, to instead assume other
 28   jobs within the region/system and thereby avoid being laid off. Many of these other
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                                             COMPLAINT
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  1   employees were younger and/or of a different gender than Mayberry. For example, the
  2   COO at Providence SoCal’s entity in Tarzana was male, younger and less tenured than
  3   Mayberry, yet despite Mayberry’s request to be retained in that position, the Tarzana
  4   COO was retained while Mayberry’s employment was terminated.
  5          22.    Mayberry requested to be placed in alternative job positions for which she
  6   was qualified so as to avoid layoff. But Defendants never offered Mayberry any
  7   alternative job with any specific role, duties, location and/or salary terms. Providence
  8   Holy Cross’ Chief Nursing Officer and Chief Medical Officer at Providence St. Joseph
  9   both breached Providence’s employment policies about confidentiality, but did not have
 10   their employment terminated. In particular, they told other employees that they were
 11   planning to conduct a layoff and terminate Mayberry’s employment. This violated
 12   published employer policies. Mayberry was qualified for the Chief Nursing Officer
 13   position, yet was never given or offered it. Meanwhile, Providence SoCal’s Regional
 14   Chief of Mission Officer breached Providence’s employment policies about
 15   confidentiality, but did not have her employment terminated.
 16          23.    At one point, Defendants spoke with Mayberry about a “regional position”
 17   they were considering placing her in to avoid her layoff. However, Defendants did never
 18   provided Mayberry with any job description, salary or terms of employment. When
 19   Mayberry further inquired, Defendants told her that actually the mentioned position was
 20   not approved in “the System.” Even after her employment termination, Mayberry in
 21   September 2020 inquired again, and was informed by Defendants that the job description
 22   for this “regional position” was going to be created and the details would be forthcoming
 23   to her. However, nothing was in fact ever further provided to her. This remains true as of
 24   the date of the filing of this lawsuit – more than six months later and more than eight
 25   months after her employment termination.
 26          24.    Numerous times during her employment, Mayberry was told by Dr. Klein
 27   that she was his “right hand person.” Mayberry was asked to cover for him on all of his
 28   absences. At one point approximately one year ago, Dr. Klein told Mayberry that he felt
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                                           COMPLAINT
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  1   that Defendants might be looking to eliminate his Chief Executive position because
  2   Mayberry’s job position was more important to be retained by Defendants. Dr. Klein
  3   referred to her as “the work horse” of the operation.
  4         25.      Defendants terminated Mayberry’s employment on July 17, 2020, when she
  5   was 65 years of age and had been employed by them for 42 years. Mayberry’s gender is
  6   female.
  7         26.      On or about March 2, 2021, Mayberry filed an administrative charge with
  8   the U.S. Equal Employment Opportunity Commission (EEOC). On or about March 30,
  9   2021, the EEOC issued to Mayberry a right to sue letter. Both documents are attached
 10   hereto and incorporated herein by reference as Exhibits A and B, respectively.
 11

 12                                 FIRST CLAIM FOR RELIEF
 13      (Discrimination On The Basis Of Age In Violation Of U.S. Age Discrimination And
 14                   Employment Act And Older Workers Benefit Protection Act
 15                                     Against All Defendants)
 16

 17         27.      Plaintiff Mayberry hereby realleges and incorporates herein in full the
 18   allegations contained in paragraphs 1 through 26, inclusive.
 19         28.      By selecting Mayberry for layoff while not selecting similarly situated
 20   younger employees, including some under the age of forty (40) years, Defendants
 21   discriminated on the basis of her age in violation of the U.S. Age Discrimination and
 22   Employment Act.
 23         29.      In addition to directly discriminating against Mayberry in terminating her
 24   employment on the basis of her age, Defendants also caused an unlawful disparate impact
 25   on the basis of age because the average age of their relevant employees was significantly
 26   lowered after the group layoff that included Mayberry. A higher percentage of employees
 27   over the age of (forty) 40 years were terminated than of employees (forty) 40 years of age
 28   and younger.
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                                              COMPLAINT
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  1          30.     The layoff, which resulted in Mayberry’s employment being terminated,
  2   included two or more employees. Defendants violated the U.S. Older Workers Benefit
  3   Protection Act, which was added to the U.S. Age Discrimination in Employment Act, by
  4   presenting and offering a written severance and release agreement to Mayberry as part of
  5   their group layoff, but refusing to provide her with the information required to be shared
  6   with her. Specifically, Mayberry was not told how the laid off groups were defined, was
  7   not given the names and ages of all employees considered for layoff, and was not
  8   provided with the names and ages of which employees in similarly situated positions as
  9   hers were not considered. Mayberry repeatedly requested this information from
 10   Defendants. Each time Defendants refused to provide her with any of this required
 11   information.
 12          31.     The U.S. Age Discrimination in Employment Act prohibits employers from
 13   taking adverse employment actions against employees based on age over 40 years and,
 14   through the Older Workers Benefit Protection Act, requires employers who terminate two
 15   or more employees over the age of 40 years to provide a specified data report with any
 16   offer of settlement or severance. 29 U.S.C. §§ 621, et seq., and 29 CFR 1625.22.
 17

 18                               SECOND CLAIM FOR RELIEF
 19          (Discrimination On The Basis Of Gender/Sex In Violation Of U.S. Title VII
 20                                     Against All Defendants)
 21

 22          32.     Plaintiff Mayberry hereby realleges and incorporates herein in full the
 23   allegations contained in paragraphs 1 through 31, inclusive.
 24          33.     By selecting Mayberry for layoff while not selecting similarly situated male
 25   employees, Defendants discriminated on the basis of her gender/age in violation of U.S.
 26   Title VII of the Civil Rights Act of 1964.
 27          34.     Title VII prohibits employers from taking adverse actions against employees
 28   based on their gender. 42 U.S.C. §§ 2000e-2, et seq.
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                                            COMPLAINT
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  1                                THIRD CLAIM FOR RELIEF
  2                           (Retaliation In Violation Of U.S. Title VII
  3                                    Against All Defendants)
  4

  5          35.    Plaintiff Mayberry hereby realleges and incorporates herein in full the
  6   allegations contained in paragraphs 1 through 34, inclusive.
  7          36.    As set forth above, in 2020 Defendants pretended to begin to offer
  8   Mayberry a regional position so that she would not be laid off from her employment.
  9   After Defendants learned that Mayberry was rejecting its initial severance offer because
 10   she believed that the termination of her employment was discriminatory, Defendants
 11   failed to move forward with its referenced regional position for Mayberry and never did in
 12   fact make such a job offer or present any details. Defendants did so in retaliation for
 13   Mayberry expressing her view that her termination was discriminatory and in violation of
 14   US Title VII and the US Age Discrimination in Employment Act. See 29 U.S.C. §§ 621,
 15   et seq. and 42 U.S.C. §§ 2000e-2, et seq.
 16

 17                               FOURTH CLAIM FOR RELIEF
 18                                  (Breach Of Implied Contract
 19                                    Against All Defendants)
 20

 21          37.    Plaintiff Mayberry hereby realleges and incorporates herein in full the
 22   allegations contained in paragraphs 1 through 36 inclusive.
 23          38.    As set forth above, Mayberry’s employment was pursuant to an implied
 24   contract that as long as she continued to do a good job, she would not be terminated
 25   without good cause. Her more than forty (40) years of employment with Defendants and
 26   the promises made to her during her employment created this implied contract. By
 27   terminating Mayberry’s employment without good cause, Defendants breached
 28   Mayberry’s implied contract.
                                                -8-
                                             COMPLAINT
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   1                                FIFTH CLAIM FOR RELIEF
   2                (Breach Of Implied Covenant Of Good Faith And Fair Dealing
   3                                    Against All Defendants)
   4

   5         39.    Plaintiff Mayberry hereby realleges and incorporates herein in full the
   6   allegations contained in paragraphs 1 through 38, inclusive.
   7         40.    By engaging in the above conduct, Defendants breached their implied
   8   covenant of good faith and fair dealing under California law. Defendants interfered with
   9   and refused to cooperate with Mayberry, which resulted in her not being allowed to
  10   continue her implied contract of employment.
  11

  12                                SIXTH CLAIM FOR RELIEF
  13                          (Intentional Infliction Of Emotional Distress
  14                                    Against All Defendants)
  15

  16         41.    Plaintiff Mayberry hereby realleges and incorporates herein in full the
  17   allegations contained in paragraphs 1 through 40, inclusive.
  18         42.    Defendants’ conduct alleged herein was outrageous and in disregard for the
  19   probability that their conduct would cause Mayberry emotional distress. Defendants
  20   intended to and did in fact inflict emotional distress on Mayberry. Defendants’ conduct
  21   was a substantial factor in causing severe emotional distress to Mayberry.
  22

  23                              SEVENTH CLAIM FOR RELIEF
  24                          (Negligent Infliction Of Emotional Distress
  25                                    Against All Defendants)
  26

  27         43.    Plaintiff Mayberry hereby realleges and incorporates herein in full the
  28   allegations contained in paragraphs 1 through 42, inclusive.
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                                              COMPLAINT
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   1          44.    By engaging in the above conduct, Defendants’ engaged in negligent
   2   conduct and willfully violated a statutory duty. As a result, Mayberry suffered emotional
   3   distress. Defendants’ conduct was a cause of Mayberry’s emotional distress.
   4

   5                                  EIGHTH CLAIM FOR RELIEF
   6        (Breach Of Fiduciary Duty For Defined Contribution Benefit Plan And Contract
   7                                     Against All Defendants)
   8          45.    Plaintiff Mayberry hereby realleges and incorporates herein in full the
   9   allegations contained in paragraphs 1 through 44, inclusive.
  10          46.    As part of her employment, Mayberry was a participant in and a party to
  11   Providence St. Joseph Health’s Defined Contribution Restoration Plan and Contract (the
  12   “Plan”). The Plan provided that upon the cessation of Mayberry’s employment, all of her
  13   funds in the Plan would be vested and would be returned to her no later than seventy-five
  14   (75) days following her separation from service.
  15          47.    Following Mayberry’s employment cessation, Providence St. Joseph Health
  16   failed to vest or timely return her funds in the Plan. By doing so, Providence St. Joseph
  17   Health breached the Plan, as well as its fiduciary duty as the sponsor of the Plan.
  18          48.    Mayberry is informed and believes and thereon alleges that that Defendants
  19   similarly committed such failures and breaches with respect to other terminated
  20   employees. Plaintiff expressly reserves the right to amend this Complaint to proceed as a
  21   class representative of other such similarly situated employees, after preliminary
  22   discovery is conducted to determine the facts regarding the same.
  23

  24                                    PRAYER FOR RELIEF
  25          WHEREFORE, Plaintiff Mayberry, respectfully requests judgment against each of
  26   the defendants, as follows:
  27          1.     For backpay;
  28          2.     For front pay;
                                                  -10-
                                               COMPLAINT
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   1         3.     For compensatory damages;
   2         4.     For punitive damages as to each Cause of Action due to Defendants’ having
   3   acted with malice and/or reckless disregard;
   4         5.     For costs of suit, including but not limited to attorneys’ fees; and
   5
             6.     That the Court grant such other, further and different relief as the Court
   6                deems just and proper.
   7
             Respectfully submitted,
   8

   9
        DATED: May 28, 2021
  10

  11                                            By:
                                                     BRIAN S. ARBETTER
  12                                            Attorneys for Plaintiff Patricia Mayberry

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                                              COMPLAINT
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   1                           DEMAND FOR TRIAL BY JURY
   2

   3         Pursuant to Rule 38 of the Federal Rules of Civil Procedure, Plaintiff hereby
   4   demands a jury trial.
   5

   6    DATED: May 28, 2021

   7
                                            By:
   8                                             BRIAN S. ARBETTER
                                            Attorneys for Plaintiff Patricia Mayberry
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                                          COMPLAINT
